           3:19-bk-70508 Doc#: 49 Filed: 08/17/19 Entered: 08/17/19 23:31:36 Page 1 of 2
                                               United States Bankruptcy Court
                                               Western District of Arkansas
In re:                                                                                                     Case No. 19-70508-btb
Marilyn Louise Erickson                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0861-3                  User: arch                         Page 1 of 1                          Date Rcvd: Aug 15, 2019
                                      Form ID: pdf08Ac                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 17, 2019.
sp             +Jennifer E. Gray,   Watkins, Boyer, Gray & Curry, PLLC,   1106 West Poplar Street,
                 Rogers, AR 72756-4244

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 17, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 15, 2019 at the address(es) listed below:
              Bianca Rucker    on behalf of Trustee Bianca Rucker ruckerlaw@outlook.com,
               jruckerlaw@outlook.com;pbruckerlaw@outlook.com;gjruckerlaw@outlook.com
              Bianca Rucker    ruckerlaw@outlook.com,
               jruckerlaw@outlook.com;pbruckerlaw@outlook.com;gjruckerlaw@outlook.com;AR37@ecfcbis.com
              James Michael McPherson   on behalf of Creditor   Nationstar Mortgage LLC jmcpherson@alaw.net,
               bkar@alaw.net;anhasalaw@infoex.com
              Paul Allen Bayless   on behalf of Debtor Marilyn Louise Erickson cooplaw@suddenlinkmail.com
              U.S. Trustee (ust)   USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                            TOTAL: 5
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                 IN THE UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF ARKANSAS
                            HARRISON DIVISION

  In re:

  MARILYN L. ERICKSON                                    Case No. 3:19-bk-70508
  Debtor                                                 Ch. 7

     ORDER GRANTING APPLICATION TO APPROVE EMPLOYMENT OF
                          ATTORNEY

       On August 14, 2019, Bianca Rucker, the duly appointed and acting Trustee for the

 above-captioned estate (“Trustee”), filed her Application to Approve Employment of

 Special Counsel (Dkt. No. 45) pursuant to 11 U.S.C. § 327 and Federal Rule of Bankruptcy

 Procedure 2014. Based on a review of the Application, its exhibits, and the Court’s docket,

 the Court finds that the Application is APPROVED, and the Trustee is authorized to

 employ Jennifer Gray of Watkins, Boyer, Gray & Curry, PLLC at 1106 West Poplar Street,

 Rogers, AR 72756 on the terms stated therein.

       IT IS SO ORDERED.



                                                 _____________________
                                                 HONORABLE BEN T. BARRY
                                                 U.S. BANKRUPTCY JUDGE


                                                          08/15/2019
 PROPOSED ORDER PREPARED BY:

 /s/ Bianca Rucker_____________
 Bianca Rucker (2006310)
 Rucker Law PLLC
 Counsel for Bianca Rucker, Trustee




               EOD: August 15, 2019
